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                                                                          7                          IN THE UNITED STATES DISTRICT COURT
                                                                          8
                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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United States District Court




                                                                              THE REGENTS OF UNIVERSITY OF
                                                                              CALIFORNIA and JANET NAPOLITANO,
                               For the Northern District of California




                                                                         12   in her official capacity as President of the                No. C 17-05211 WHA
                                                                         13   University of California,

                                                                         14                 Plaintiffs,
                                                                                                                                          NOTICE RE SEPTEMBER 21
                                                                         15     v.                                                        CASE MANAGEMENT
                                                                                                                                          CONFERENCE
                                                                         16   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and ELAINE
                                                                         17   DUKE, in her official capacity as Acting
                                                                              Secretary of the Department of Homeland
                                                                         18   Security,

                                                                         19                 Defendants.
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                                                                         21          On September 12, the above-captioned DACA case was assigned to the undersigned

                                                                         22   judge. Thereafter, the parties in State of California v. United States Department of Homeland

                                                                         23   Security, Case No. 17-cv-05235 MEJ stipulated to relate their case. A case management

                                                                         24   conference will be held on THURSDAY, SEPTEMBER 21 AT 10:30 A.M. to set the schedule of

                                                                         25   these DACA cases going forward.

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                                                                          1          Counsel in another DACA case, City of San Jose v. Donald Trump, Case No. 17-cv-
                                                                          2   05329 HRL, are requested to attend the September 21 case management conference, even if
                                                                          3   their action has not been formally reassigned. Furthermore, the Court requests counsel for all
                                                                          4   parties immediately confer to consider whether to stipulate to relating the San Jose action.
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                                                                          6          IT IS SO ORDERED.
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                                                                          8   Dated: September 18, 2017.
                                                                          9                                                            WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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United States District Court
                               For the Northern District of California




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